












Dismissed and Memorandum Opinion filed July 29, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00236-CR

NO. 14-10-00237-CR

____________

&nbsp;

DAVID CARRASCO TAPIA, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 176th District Court

Harris County, Texas

Trial Court Cause Nos. 1227138 &amp;
1227137

&nbsp;



&nbsp;

MEMORANDUM
OPINION

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant’s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the
Clerk of the Court to issue the mandate of the Court immediately.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Seymore.

Do Not Publish C Tex. R. App. P. 47.2(b)





